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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

David M Boswell Jr.
                               Plaintiff,
v.                                                  Case No.: 1:16−cv−09070
                                                    Honorable John Robert Blakey
Lt. Sullivan, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 5, 2018:


        MINUTE entry before the Honorable John Robert Blakey: In light of the
continued proceedings before Magistrate Judge Valdez, the status hearing previously set
for 3/21/2018 is reset for 7/11/2018 at 10:30 a.m. in Courtroom 1203. Defense counsel
shall arrange for Plaintiff to be available by telephone for the status hearing, and shall
contact the Courtroom Deputy at (312) 818−6699 by noon on 7/10/2018 with the call−in
information. Status will be stricken if parties file dismissal documents prior to the next
hearing. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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